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AO 450 (SCD 04/2010) Judgment in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                 for the
                                                        District of South Carolina


                    Richard Gregory Zahn
                            Plaintiff
                                                                       )
                               v.                                           Civil Action No.      2:19-cv-03553-DCN
                                                                       )
William Barr, in his official capacity as Attorney
General of the United States, and Regina                               )
Lombardo, in her official capacity as Acting                           )
Director of the Bureau of Alcohol, Tobacco,                            )
Firearms and Explosives
                           Defendants


                                                  JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):


 the plaintiff

 the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
recover costs from the plaintiff (name)                            .

O other: The court grants the motion to dismiss for lack of subject matter jurisdiction.


This action was (check one):
 tried by a jury, the Honorable                           presiding, and the jury has rendered a verdict.


 tried by the Honorable                          presiding, without a jury and the above decision was reached.

Odecided by the Honorable David C. Norton, United States District Judge, on a motion to dismiss.


Date: June 23, 2020                                                        CLERK OF COURT

                                                                                            s/John P. Bryan, Jr.
                                                                                       Signature of Clerk or Deputy Clerk
